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    5 Attorneys for Defendants
      PROTECTIVE LIFE INSURANCE COMPANY
    6 and WEST COAST LIFE INSURANCE COMPANY

    7

    8                     UNITED STATES DISTRICT COURT
    9                   CENTRAL DISTRICT OF CALIFORNIA
   10   DARA HALL,                         Case No. 2:23-cv-03871-MEMF-AS
   11              Plaintiff,              DEFENDANTS WEST COAST LIFE
   12
                                           INSURANCE COMPANY AND
             v.                            PROTECTIVE LIFE INSURANCE
   13
                                           COMPANY’S ANSWER TO
      CHRISTOPHER HALL; WEST               PLAINTIFF’S COMPLAINT WITH
      COAST LIFE INSURANCE
   14 COMPANY; PROTECTIVE LIFE
                                           AFFIRMATIVE DEFENSES
      INSURANCE COMPANY; and
   15 DOES 1-20, inclusive,                [Filed concurrently with Counterclaim,
   16
                                           Cross-claim, and Third-Party Claim in
                   Defendants.             Interpleader]
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                   ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES
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    1         Defendants West Coast Life Insurance Company and Protective Life
    2   Insurance Company (collectively, “Protective”) hereby answer the Complaint filed
    3   by Plaintiff Darra Hall (“Plaintiff”). Unless expressly admitted herein, Protective
    4   denies each material allegation of the Complaint. Subject to these denials, the
    5   affirmative defenses stated herein, as well as the Counterclaim, Cross-claim, and
    6   Third-Party Claim in Interpleader filed concurrently herewith, Protective responds
    7   to the Complaint as follows:
    8         1.     Referring to the allegations in Paragraph 1,, Protective, upon
    9   information and belief, admits that the life insurance policies at issue in this
   10   lawsuit—West Coast Life Policy No. ZUA413143 and Protective Policy No.
   11   B00434439 (collectively, the “Policies”)—insured Plaintiff’s aunt, Patricia “Patsy”
   12   Hall. Protective denies any and all remaining allegations of Paragraph 1.
   13         2.     Protective presently lacks information or knowledge sufficient to form
   14   a belief as to the truth of the allegations in Paragraph 2, and on this basis, Protective
   15   denies the allegations.
   16         3.     Protective denies the allegations of Paragraph 3.
   17         4.     Protective presently lacks information or knowledge sufficient to form
   18   a belief as to the truth of the allegations in Paragraph 4, and on this basis, Protective
   19   denies the allegations.
   20         5.     Protective presently lacks information or knowledge sufficient to form
   21   a belief as to the truth of the allegations in Paragraph 5, and on this basis, Protective
   22   denies the allegations. Protective further states that due to the contest to the proceeds
   23   of the Policies, Protective is filing concurrently herewith a Counterclaim, Cross-
   24   claim, and Third-Party Claim in Interpleader requesting that the Court determine the
   25   proper beneficiary(ies) of the Policies.
   26         6.     Protective denies the allegations of Paragraph 6.
   27         7.     Protective presently lacks information or knowledge sufficient to form
   28   a belief as to the truth of the allegations in Paragraph 7, and on this basis, Protective
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                      ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES
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    1   denies the allegations. Protective further states that Christopher Hall was improperly
    2   joined as a defendant in this action, as set forth in Protective’s Notice of Removal.
    3         8.     Protective denies the allegations of Paragraph 8.
    4         9.     Protective denies the allegations of Paragraph 9. Protective further
    5   states that due to the contest to the proceeds of the Policies, Protective is filing
    6   concurrently herewith a Counterclaim, Cross-claim, and Third-Party Claim in
    7   Interpleader requesting that the Court determine the proper beneficiary(ies) of the
    8   Policies.
    9         10.    Protective presently lacks information or knowledge sufficient to form
   10   a belief as to the truth of the allegations in Paragraph 10, and on this basis, Protective
   11   denies the allegations.
   12                               FIRST CAUSE OF ACTION
                                     BREACH OF CONTRACT
   13                             (AGAINST ALL DEFENDANTS)
   14         11.    Protective incorporates by reference its responses to Paragraphs 1
   15   through 10 as if fully set forth herein.
   16         12.    Protective denies the allegations of Paragraph 12.
   17         13.    Referring to the allegations in Paragraph 13, Protective admits only that
   18   Plaintiff has submitted claim forms to Protective seeking the proceeds of the
   19   Policies. Protective denies the remaining allegations of Paragraph 13. Protective
   20   further states that due to the contest to the proceeds of the Policies, Protective is
   21   filing concurrently herewith a Counterclaim, Cross-claim, and Third-Party Claim in
   22   Interpleader requesting that the Court determine the proper beneficiary(ies) of the
   23   Policies.
   24         14.    Referring to the allegations in Paragraph 14, Protective admits only that
   25   Plaintiff has submitted claim forms to Protective seeking the proceeds of the
   26   Policies. Protective denies the remaining allegations of Paragraph 14. Protective
   27   further states that due to the contest to the proceeds of the Policies, Protective is
   28   filing concurrently herewith a Counterclaim, Cross-claim, and Third-Party Claim in
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                      ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES
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    1   Interpleader requesting that the Court determine the proper beneficiary(ies) of the
    2   Policies.
    3         15.      The allegations of Paragraph 15 call for a legal conclusion to which no
    4   response is required. To the extent a response is necessary, Protective denies the
    5   allegations.
    6                              SECOND CAUSE OF ACTION
                                     INSURANCE BAD FAITH
    7                             (AGAINST ALL DEFENDANTS)
    8         16.      Protective incorporates by reference its responses to Paragraphs 1
    9   through 15 as if fully set forth herein.
   10         17.      Plaintiff and Protective have stipulated to the dismissal of Plaintiff’s
   11   second cause of action, and as such, no response to the allegations in Plaintiff’s
   12   second cause of action is required.
   13         18.      Plaintiff and Protective have stipulated to the dismissal of Plaintiff’s
   14   second cause of action, and as such, no response to the allegations in Plaintiff’s
   15   second cause of action is required.
   16         19.      Plaintiff and Protective have stipulated to the dismissal of Plaintiff’s
   17   second cause of action, and as such, no response to the allegations in Plaintiff’s
   18 second cause of action is required.
   19                            THIRD CAUSE OF ACTION
                                   DECLARATORY RELIEF
   20                         (AGAINST ALL DEFENDANTS)
   21         20.      Protective incorporates by reference its responses to Paragraphs 1
   22   through 19 as if fully set forth herein.
   23         21.      Referring to the allegations in Paragraph 21, Protective admits only that
   24   a present dispute to the benefits of the Policies exists. Protective denies the
   25   remaining allegations of Paragraph 21. Protective further states that due to the
   26   contest to the proceeds of the Policies, Protective is filing concurrently herewith a
   27   Counterclaim, Cross-claim, and Third-Party Claim in Interpleader requesting that
   28   the Court determine the proper beneficiary(ies) of the Policies.
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    1         22.     Protective denies the allegations of Paragraph 22. Protective further
    2   states that due to the contest to the proceeds of the Policies, Protective is filing
    3   concurrently herewith a Counterclaim, Cross-claim, and Third-Party Claim in
    4   Interpleader requesting that the Court determine the proper beneficiary(ies) of the
    5   Policies.
    6         For the unnumbered prayer for relief paragraph beginning with
    7   “WHEREFORE” on page 5 of the Complaint, Protective responds as follows:
    8   ON THE FIRST CAUSE OF ACTION:
    9         1.      Protective denies that Plaintiff is entitled to damages from Protective.
   10   Protective further denies that Plaintiff is entitled to any relief whatsoever from
   11   Protective.
   12         2.      Protective denies that Plaintiff is entitled to fees and costs of suit.
   13   Protective further denies that Plaintiff is entitled to any relief whatsoever from
   14   Protective.
   15   ON THE SECOND CAUSE OF ACTION:
   16         1.      Protective denies that Plaintiff is entitled to damages from Protective.
   17   Protective further denies that Plaintiff is entitled to any relief whatsoever from
   18   Protective.
   19         2.      Protective denies that Plaintiff is entitled to bad faith damages from
   20   Protective. Protective further denies that Plaintiff is entitled to any relief whatsoever
   21   from Protective.
   22         3.      Protective denies that Plaintiff is entitled to attorneys’ fees and costs.
   23   Protective further denies that Plaintiff is entitled to any relief whatsoever from
   24   Protective.
   25         4.      Protective denies that Plaintiff is entitled to punitive damages.
   26   Protective further denies that Plaintiff is entitled to any relief whatsoever from
   27   Protective.
   28   ///
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    1   ON THE THIRD CAUSE OF ACTION
    2         1.      Protective denies that Plaintiff is entitled to declaratory relief.
    3   Protective further denies that Plaintiff is entitled to any relief whatsoever from
    4   Protective.
    5                               AFFIRMATIVE DEFENSES
    6         Without assuming the burden of proof on any matters that would otherwise
    7   rest with Plaintiff, and expressly denying all wrongdoing, Protective alleges the
    8   following affirmative defenses. By setting forth these defenses, Protective does not
    9   assume the burden of proving any fact, issue, or element of a cause of action where
   10   such burden properly belongs to Plaintiff. Moreover, nothing stated herein is
   11   intended or shall be construed as an admission that any particular issue or subject
   12   matter is relevant to Plaintiff’s allegations.
   13                                       FIRST DEFENSE
   14         1.      Plaintiff’s Complaint, and each purported claim therein, fails to state a
   15   claim against Protective upon which relief can be granted.
   16                                     SECOND DEFENSE
   17         2.      Plaintiff’s claims are barred by the provisions, terms, exclusions,
   18   definitions, limitations, and conditions of the Policies at issue.
   19                                      THIRD DEFENSE
   20         3.      Plaintiff’s claims are barred, because there are competing claims to the
   21   proceeds of the Policies by Plaintiff, on the one hand, and the designated
   22   beneficiaries of the Policies, on the other hand. In light of the competing claims to
   23   the Policies, Protective is filing herewith a Counterclaim, Cross-claim, and Third-
   24   Party Claim in Interpleader requesting that the Court make a determination as to the
   25   proper beneficiary(ies) of the Policies.
   26                                     FOURTH DEFENSE
   27         4.      Plaintiff lacks standing to assert claims against Protective as she is not
   28   the primary beneficiary of record for the Policies at issue.
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                      ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES
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    1                                      FIFTH DEFENSE
    2         5.     Plaintiff’s claims are barred because Protective has fully and/or
    3   substantially performed all contractual, statutory, and other duties that may have
    4   been owed to Plaintiff.
    5                                      SIXTH DEFENSE
    6         6.     Plaintiff’s claims are barred by the failure to satisfy necessary
    7   conditions precedent.
    8                                    SEVENTH DEFENSE
    9         7.     Plaintiff’s claims are barred or limited because Protective complied
   10   with all applicable laws, statutes, and regulations at all pertinent times.
   11                                     EIGHTH DEFENSE
   12         8.     Plaintiff’s claims are barred or limited because Protective acted
   13   reasonably, appropriately and in good faith at all pertinent times.
   14                                      NINTH DEFENSE
   15         9.     Plaintiff’s claims are barred because Protective did not engage in any
   16   unfair, unlawful, fraudulent, or wrongful conduct.
   17                                     TENTH DEFENSE
   18         10.    The acts and omissions of Protective, if any, were excused or justified
   19   by the information and facts available to Protective at the time such acts and
   20   omissions, if any, occurred.
   21                                    ELEVENTH DEFENSE
   22         11.    Plaintiff has sustained no injury in fact or damages caused by Protective
   23   or the conduct alleged in the Complaint.
   24                                    TWELFTH DEFENSE
   25         12.    If Plaintiff has suffered any injury or harm—which Protective expressly
   26   denies—recovery is barred by the failure of Plaintiff to mitigate, reduce, or otherwise
   27   avoid her damages or injuries.
   28   ///
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                     ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES
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    1                                  THIRTEENTH DEFENSE
    2         13.    Plaintiff’s claims are barred, in whole or in part, because no act or
    3   omission by Protective, or by any person or entity for which Protective was
    4   responsible, was the proximate cause of any injury or harm alleged.
    5                                  FOURTEENTH DEFENSE
    6         14.    Plaintiff’s claims are barred due to the acts or omissions of third parties
    7   who are unrelated to Protective.
    8                                   FIFTEENTH DEFENSE
    9         15.    Plaintiff’s claims are barred by the doctrine of estoppel.
   10                                   SIXTEENTH DEFENSE
   11         16.    Plaintiff’s claims are barred by the doctrine of unjust enrichment.
   12                                 SEVENTEENTH DEFENSE
   13         17.    Plaintiff’s claims are barred by the doctrine of unclean hands in that the
   14   actions of Plaintiff have caused some or all of the alleged harm incurred, if any.
   15                                  EIGHTEENTH DEFENSE
   16         18.    Plaintiff’s claims are barred, in whole or in part, by the applicable
   17   statutes of limitations, laches, and/or other time bars.
   18                                  NINETEENTH DEFENSE
   19         19.    Plaintiff’s claims are barred, in whole or in part, by the following
   20   doctrines: res judicata, collateral estoppel, laches, assumption of risk, contributory
   21   negligence, duress, failure of consideration, contribution, set-off, fraud, illegality,
   22   injury by fellow servant, license, joint and several liability, payment, release,
   23   standing, real party in interest, accord and satisfaction, good faith, genuine dispute,
   24   failure to cooperate, failure to read, and/or release.
   25                                  TWENTIETH DEFENSE
   26         20.    Plaintiff is not entitled to any attorneys’ fees or costs from Protective.
   27   ///
   28   ///
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                      ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES
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    1                                TWENTY-FIRST DEFENSE
    2         21.     Protective presently has insufficient knowledge or information on
    3   which to form beliefs as to whether there are additional, yet unstated affirmative
    4   defenses. Thus, subject to further proceedings in this action, Protective expressly
    5   reserves its right to assert additional affirmative defenses.
    6         WHEREFORE, Protective prays for relief as follows:
    7         1.      That the Complaint be dismissed with prejudice in its entirety as to
    8   Protective;
    9         2.      That Plaintiff take nothing from Protective by reason of the Complaint
   10   and that judgment be entered against Plaintiff and in favor of Protective;
   11         3.      That Protective be awarded its costs incurred in defending this action
   12   including such reasonable attorneys’ fees as may be allowed by case or statutory
   13   authority and/or agreement of the parties; and
   14         4.      That Protective be granted such other relief as the Court may deem just
   15   and proper.
   16

   17
        Dated: May 26, 2023                              MAYNARD NEXSEN LLP
   18

   19                                                    /s/ Charles K. Chineduh
                                                   By:      CHARLES K. CHINEDUH
   20

   21                                                    Attorney For Defendants
                                                         PROTECTIVE LIFE INSURANCE
   22                                                    COMPANY and WEST COAST LIFE
                                                         INSURANCE COMPANY
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                      ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES
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     1                                   PROOF OF SERVICE
     2   STATE OF CALIFORNIA                          )
         COUNTY OF LOS ANGELES                        )
     3
       I am employed in the County of Los Angeles, State of California. I am over the age
     4 of 18 and not a party to the within action. My business address is Maynard Nexsen
       LLP, 10100 Santa Monica Blvd., Suite 550, Los Angeles, CA 90067. On the date
     5 indicated below, I served the foregoing document described as:

     6     DEFENDANT WEST COAST LIFE INSURANCE COMPANY’S AND
         DEFENDANT PROTECTIVE LIFE INSURANCE COMPANY’S ANSWER
     7     TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES
     8 on the interested parties in this action by placing: [ ] the original document - OR-
       [X] a true and correct copy thereof enclosed in sealed envelopes addressed as
     9 follows:

    10         Joseph S. Fogel (SBN 156746)
    11         ADEPT LAW FIRM
               4500 Park Granada, Suite 202 F
    12         Calabasas, CA 91302-1613
    13         Tel: (818) 986-7100
               Fax: (818) 986-7106
    14

    15         Attorneys for Plaintiff
               DARRA HALL
    16
         [x]   BY CM/ECF ELECTRONIC SERVICE: The following are registered
    17         CM/ECF users with the Court and have consented to service through the
               Court’s automatic transmission of a notice of electronic filing.
    18
              I declare that I am employed in the office of a member who has been admitted
    19 to the bar of this Court at whose direction the service was made. I declare under
       penalty of perjury under the laws of the State of California that the foregoing is true
    20 and correct.

    21         Executed on May 26, 2023, in Los Angeles, California.
    22

    23
                                                             Ayanna Clutchette
    24

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                      ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES
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